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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re                                      :   Chapter 13

MARIA A JOHNSON                            :

                    Debtor.      :             Case No. 18-10251-jkf
________________________________


                                       ORDER

        AND NOW, upon consideration of the Motion for Authority to Sell Real

Property (“the Motion”), and the request for an expedited hearing thereon, and

sufficient cause being shown, it is hereby ORDERED that:

        1. The request for an expedited hearing is Granted.

        2. A TELEPHONIC hearing to consider the Motion shall be held on
           April 8, 2020 at 9:30 a.m. or soon after. Using a land line, the
           parties are directed to call the Court’s telephone conferencing system
           by dialing 877-336-1828; Code 8760084#

        3. Written objections or other responsive pleadings to the Motion (while
           not required) may be filed up to the time of the hearing and all will be
           considered at the hearing.

        4. The Movant shall serve the Motion and this Order on the U.S. Trustee,
           the case Trustee (if any), the individual Respondent(s) (if any), counsel
           to the Official Committee of Unsecured Creditors (if any), all secured
           creditors and all priority creditors by overnight mail, facsimile
           transmission or e-mail transmission no later than 5:00 p.m. on
           March 23, 2020 . If the hearing is scheduled less than 48 hours after
           the Movant receives this Order, Movant shall give immediate
           telephonic notice of the hearing to the above as well.

        5. The Movant shall serve this Order and the Notice of the Motion in
           conformity with Local Bankruptcy Form 9014-3 on all other parties in
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         interest, including all creditors, by regular mail no later than 5:00 p.m.
         on March 23, 2020.                                  .

     6. Prior to the hearing, the Movant shall file a Certification setting forth
        compliance with the service requirements of Paragraphs 4 and 5 above
        as applicable.




Dated: March 23, 2020                        ______________________________
                                             HONORABLE JEAN K. FITZSIMON
                                             United States Bankruptcy Judge




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